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               BEFORE THE UNITED STATES JUDICIAL PANEL ON
                       MULTIDISTRICT LITIGATION


                                              §
                                              §
In re Kia Hyundai Vehicle Theft Litigation    §   MDL No. 3052
                                              §
                                              §


                        AMENDED NOTICE OF APPEARANCE

                               SCHEDULE OF ACTIONS

             Case Caption                     Court       Civil Action No.      Judge
Plaintiffs:                                    C.D.        8:22-cv-01440     Hon. David O.
Cynthia Yeghiaian and Jeff Plaza, on         California                         Carter
behalf of themselves and all others
similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiffs:                                    C.D.        8:22-cv-01548     Hon. David O.
Katelyn McNerney, Sherry Mason,              California                         Carter
Camri Nelson, Cameron Cunningham,
and Allison Brown, on behalf of
themselves and all others similarly
situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                    C.D.        8:22-cv-01664     Hon. David O.
Mitchell Cohen, Pauline Ragsdale, and        California                         Carter
Herbert Taylor, on behalf of themselves
and all others similarly situated

Defendants:
Kia America, Inc., Kia Corporation,
Hyundai Motor America, and Hyundai
Motor Company

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             Case Caption                  Court       Civil Action No.      Judge
Plaintiffs:                                 C.D.        8:22-cv-01674     Hon. David O.
Miyoshi Morrow, Tracy Spradlin, and       California                         Carter
Rachel Perry, on behalf of themselves
and all others similarly situated

Defendants:
Hyundai Motor America Inc. and Kia
America, Inc.
Plaintiffs:                                 C.D.        8:22-cv-01712     Hon. David O.
Monique E. Baker and Stephen L.           California                         Carter
DesJardins, on behalf of themselves and
all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiff:                                  C.D.        8:22-cv-01715     Hon. David O.
Steven C. Hufford, on behalf of himself   California                         Carter
and all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                 C.D.        8:22-cv-01721     Hon. John W.
Stephanie McQuarrie, Kaitlynn             California                       Holcomb
Marchione, and Omar Becerra, on behalf
of themselves and all others similarly
situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                 C.D.        8:22-cv-01729     Hon. John W.
Lauren Henry, Lauren Hickman, Kathy       California                       Holcomb
Coke, Gerald Smith, Devon McClellan,
and Lauren Hernandez, on behalf of
themselves and all others similarly
situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia Technical
Center, Inc.

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              Case Caption                    Court       Civil Action No.      Judge
Plaintiffs:                                    C.D.        8:22-cv-1815      Hon. David O.
Eugenia Sampson, Michael Sanders,            California                         Carter
Sherry Kelley, Jazmine Harris, and
Lilianna Bineau,, individually and on
behalf of all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                    C.D.        8:22-cv-01905     Hon. David O.
Victoria Mohr and Gwendolyn Kalimu,          California                         Carter
individually and on behalf of all others
similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                    C.D.        8:22-cv-01922     Hon. David O.
Courtney Fehrenbach, Stacia Salvaggio,       California                         Carter
and David Salvaggio, individually and
on behalf of all others similarly situated

Defendants:
Hyundai Motor America and Kia
America, Inc.
Plaintiffs:                                    C.D.        8:22-cv-01956     Hon. David O.
Kerry Lamons, Malissa Webber, Abigail        California                         Carter
Averill, Kelly Whittaker, Tammy
Mitchell, Aerial Moton, Christine Ford,
Kimesha Huggins, Willie Walson III,
Shamaka August-Gonzalez, Joseph
DiGiacinto, Rafael Cruz, Teri Music,
Tiffany K. Daniels, and Heather Rundell,
on behalf of themselves and all others
similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiff:                                     C.D.        8:22-cv-01987     Hon. James V.
Mary Jane Whalen, individually and on        California                         Selna
behalf of all others similarly situated

Defendants:

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               Case Caption                   Court       Civil Action No.      Judge
Kia America, Inc. and Hyundai America
Technical Center, Inc.
Plaintiffs:                                    C.D.        8:22-cv-02065     Hon. David O.
Amanda Sue Sellers, Nadine Quate             California                         Carter
Francis, Thomas Benton Harang, Jr., and
Ian Michael Scott, individually and on
behalf of all others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, Hyundai America Technical
Center, Inc.
Plaintiffs:                                    C.D.        8:22-cv-02090     Hon. Fred W.
David Lucas, Deborah Bennett, Marchae        California                       Slaughter
Winston, Stefani Poblete Taylor, Lela
Terrel Strong, Paige Helsel, Rachel
Duffin, Kristina McKnight, Glenn
Helmly, Nolan Glennon, Derrick
Beckwith, Glenn Latimer, Regina
Wilson, Martha Hardwell, Jill Fisher,
Laura Roberts, Kasey Weinfurter, Molly
O’Connor, Connie Kesner, Annette
Douglas, Jacquelynne Sutton, Thomas
Dehler, John Pope, Lexii Cummings,
Shea Donahue, Shana Eberhardt, Tiffany
Devonish, Celeste Jacobs, Bryan
Roberts, Brian Helm, Carolyn Catlos,
and Michael Scalise, individually and on
behalf of all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiff:                                  D. Colorado    1:22-cv-02123     Hon. Nina Y.
Heather Jones, on behalf of herself and                                         Wang
all others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                  D. Colorado    1:22-cv-02367     Hon. Nina Y.
Jennifer Fisher, on behalf of herself and                                       Wang
all others similarly situated
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              Case Caption                    Court        Civil Action No.      Judge

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                M.D. Florida     6:22-cv-01440     Hon. Paul G.
Joanna Pue and Shannon Kozmic, on                                               Byron
behalf of themselves and all others
similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                    N.D.          1:22-cv-04062     Hon. Sarah E.
Mary Horne, individually and on behalf       Georgia                           Geraghty
of all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America, Inc.
Plaintiffs:                                N.D. Illinois    1:22-cv-04071     Hon. John J.
Erica Loburgio, Anthony Loburgio,                                              Tharp, Jr.
Michael Flannagan, and Jessica Mitchell,
on behalf of themselves and all others
similarly situated

Defendants:
KIA America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                 N.D. Illinois    1:22-cv-06413     Hon. Manish
Pamela Givens, individually and on                                              S. Shah
behalf of all others similarly situated

Defendant:
Kia America, Inc.
Plaintiff:                                 N.D. Indiana     2:22-cv-00295     Hon. Philip P.
Brandye Burnett, individually and on                                             Simon
behalf of all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America, Inc.

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              Case Caption                    Court     Civil Action No.      Judge
Plaintiffs:                                 S.D. Iowa    4:22-cv-00252     Hon. Rebecca
Ann Brady and Leah Price, on behalf of                                      Goodgame
themselves and all others similarly                                          Ebinger
situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiffs:                                 D. Kansas    2:22-cv-02288     Hon. Holly L.
Charles Simmons, Dale Denney, and                                             Teeter
Charles Cole, on behalf of themselves
and all others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                    E.D.       5:22-cv-00202     Hon. Karen K.
Rita Day, on behalf of herself and all      Kentucky                         Caldwell
others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                    E.D.       2:22-cv-03630     Hon. Nannette
Juliette Neves, individually and on         Louisiana                        Jolivette
behalf of all others similarly situated                                       Brown

Defendants:
Kia America, Inc. and Hyundai Motor
America, Inc.
Plaintiffs:                                  E.D.        2:22-cv-12198     Hon. Paul D.
Casey DeKam, Jason Hendrix, and Ryan        Michigan                         Borman
Beaulieu, on behalf of themselves and all
others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center Inc.


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             Case Caption                     Court      Civil Action No.      Judge
Plaintiff:                                      D.        0:22-cv-02149     Hon. Patrick J.
Steve Zanmiller, on behalf of himself        Minnesota                         Schiltz
and all others similarly situated

Defendants:
Kia America, Inc. and Hyundai America
Technical Center, Inc.
Plaintiff:                                      D.        0:22-cv-02164      Hon. Eric C.
LaShaun Johnson, on behalf of himself        Minnesota                        Tostrud
and all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                     D.        0:22-cv-02328     Hon. Patrick J.
Robert Ballis and Ashleigh Towers, on        Minnesota                         Schiltz
behalf of themselves and all others
similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America
Plaintiffs:                                     D.        0:22-cv-02431     Hon. Nancy E.
Lisa Hilliard and Kelsey Biljan, on          Minnesota                         Brasel
behalf of themselves and all others
similarly situated

Defendants:
Kia America, Inc., Hyundai Kia America
Technical Center, Inc., and Hyundai
Motor America.
Plaintiff:                                      D.        0:22-cv-02511     Hon. John R.
Preston Broadway, individually and on        Minnesota                       Tunheim
behalf of all others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                      D.        0:22-cv-02583     Hon. Donovan
Jeff Spores, individually and on behalf of   Minnesota                        W. Frank
all others similarly situated


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             Case Caption                      Court       Civil Action No.      Judge
Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai America
Technical Center, Inc.
Plaintiffs:                                     D.          0:22-cv-02882     Hon. John R.
Anastasia Pearson and Jayson McGuire,        Minnesota                          Tunhein
individually and on behalf of all others
similarly situated,

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiffs:                                    W.D.         4:22-cv-00465     Hon. Roseann
Brian Bendorf and Sara Bendorf, on            Missouri                         Ketchmark
behalf of themselves and all others
similarly situated

Defendants:
KIA America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                     W.D.         4:22-cv-00548     Hon. Fernando
Cobi Bissell, on behalf of himself and all    Missouri                          J. Gaitan
others similarly situated

Defendants:
Hyundai Motor America Corporation
and Kia Motors America, Inc.
Plaintiff:                                   D. Nebraska    4:22-cv-03155     Hon. John M.
Amber Hall, on behalf of herself and all                                        Gerrard
others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                     S.D.         1:22-cv-07433      Hon. J. Paul
Stacie Moon, on behalf of herself and all    New York                            Oetken
others similarly situated




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              Case Caption                    Court       Civil Action No.      Judge
Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai America
Technical Center, Inc.
Plaintiffs:                                 N.D. Ohio      3:22-cv-01432     Hon. James G.
Jo Taylor Slovak, Daniel Newman, and                                             Carr
Erin Davies, on behalf of themselves and
all others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, Kia Corporation, and Hyundai
Motor Co.
Plaintiffs:                                 S.D. Ohio      1:22-cv-00451     Hon. Douglas
Miriam Fruhling, Roger Mason, and Jade                                         R. Cole
Burke, on behalf of themselves and all
others similarly situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiff:                                    E.D.         2:22-cv-04074     Hon. Michael
Zoraida Rivera, individually and on        Pennsylvania                       M. Baylson
behalf of all others similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America Corporation
Plaintiffs:                                   E.D.         2:22-cv-04376     Hon. Michael
Gregory Alston and Ayana Hicks,            Pennsylvania                       M. Baylson
individually and on behalf of all others
similarly situated

Defendants:
Kia America, Inc. and Hyundai Motor
America Corporation
Plaintiff:                                  D. South       3:22-cv-04014      Hon. Mary
Laura Parker, individually and on behalf    Carolina                         Geiger Lewis
of all others similarly situated

Defendants:


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             Case Caption                   Court      Civil Action No.      Judge
Kia America, Inc. and Hyundai Motor
America, Inc.
Plaintiff:                                  W.D.        2:22-cv-02678     Hon. Mark S.
Tempest Walker, individually and on       Tennessee                         Norris
behalf of all others similarly situated

Defendants:
Kia America, Inc and Hyundai Motor
America, Inc.
Plaintiffs:                               S.D. Texas    4:22-cv-02603     Hon. David
Jon Bodie and Albert Lui, on behalf of                                     Hittner
themselves and all others similarly
situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai Kia America
Technical Center, Inc.
Plaintiffs:                                 E.D.        2:21-cv-01146     Hon. Pamela
Stefanie Marvin, Katherine Wargin,        Wisconsin                         Pepper
Chaid Przybelski, Chad Just, Amy
Flasch, and Lydia Davis, on behalf of
themselves and all others similarly
situated

Defendants:
Kia America, Inc., Hyundai Motor
America, and Hyundai America
Technical Center, Inc.




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